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KN THE CIRCUIT COURT OF THE SIXTH JUDICAL €ERCUIT
IN AND F(}R PASCO C(}UNTY, FLGRIBA

CIV{L DIVISI€)N
JULIE MCCALLA
Plaintit`f Case No.: 2015-CA-002801-ES
v.
CREDIT ONE BANK
Det`endant(s) j

 

AMENL)EI) COMPLAINT AND .¥URY DEMAND

COMES N()W the Plaintiff, JULIE MCCALLA, by and through the undersigned

counsel, and files this Complaint and Jury Dernand against the Defendant, CREDIT ONE
BANK (“cRai)lT oNE”) ana wood Sh<>w:

INTRODUCTION

This action arises out of the facts and circumstances surrounding the collection

of an alleged consumer debt. Plaintiff brings this action for statutory damages and actual

damages as Well as attorney’s fees and the costs of litigation for the Defendant’s

violations of the Florida Consumer Collection Practices Act, Title XXXIII, Chapter 559,

Palt VI, Florida Statutes (“FCCPA”), and for violations of the Telephone Consumer

Practices Act, 47 U.S.C. § 227 et seq. (“TCPA”). This law prevents creditors and debt

collectors from inter alia, engaging in abusive, unfair and deceptive debt collection

practices, as Well as regulate the type cf telephone equipment organizations may use to

contact consumers for debt collection purposes

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JUR§SI)ICTION AND VENUE

l. This is an action for money damages in excess of fifteen thousand dollars
(315,00().0()) exclusive of costs and attorney’s fees

2. Jurisdiction of this Court arises under Fla. Stat. § 559.77(1) and 4'? U.S.C.
§ 227(b)(3) and concurrent state court jurisdiction

3. Venue lies in this district pursuant to §559.77(1). Fla. Stat. And 47 U.S.C.
§ 227(b)(3) and the state court concurrent jurisdiction

4. Venue in this district is proper in that the Det`endant conducts business
here, and the conduct complained of occurred here

PARTIES

5. Plaintiff is an individual, a natural person and a “consumer” residing in
Pasco County, Florida, who is alleged to owe a debt to CREDIT ONE.

6. The Defendant CREDIT ONE is a Nevada company that conducts
business in Pasco County. Its principal business location is 585 Pilot Road, Las Vegas,
NV 89119.

7. Defendant is a “debt collector” as denned by the FCCPA.

8. At all times herein, Defendant was a “person” as defined by Section
559.55, Fla. Stat. See Schouer v. General Motors Acceptance Cor;p., 819 So. 2d 809 (Fla.
4“‘ cea 2002).

9. Defendant is engaged in the collection of consumer debts using the

telephone, the U.S. Mail, and all other means at its disposal

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lO. At all times herein, the Det`endant either acted on its own accord, or
through its agents, employees, ofticers, members directorso successors assigns,
principals trustees, sureties, subrogees, representatives and insurers

;F`_e_§_l_§

ll. At one point in tinie, Plaintiff was alleged to owe a debt to Defendant (the
“deht”).

l2. 'I`he debt was incurred for Plaintifl’s personal family and/or household
purposes

l3. ln early July 2015, the Plaintifl specifically told the CREDIT ONE
representative that CRh"l`)l'l` ONE did not have her consent to call her on her cellular
telephone, the number of Which is 352~[redacted]~43 86.

14. Plaintiff continued to receive telephone calls on her cellular phone from
CREDIT ONE throughout the first two weeks of July 2015. Final.ly, Plaintit`t` began to
log the dates and times of collection calls and starting lilly ll, 2015 and until lilly 29,
20l 5 she received 46 collection calls.

15. Gn luly 29, 2015, Plaintiff again requested CREDI'I` ONE to stop calling
her cellular telephone and advised them that she had retained legal counsel and gave them
the undersigned’s contact information 'I`he calls stopped thereat`ter.

16. Despite Plaintit`f informing Defendant it did not have her consent to call
her cellular telephone, Defendant continued to call her cellular telephone, subsequent to
the above corn/ersations5 using an auto~dialer to make each telephone call, forty‘six (46)

times or more times

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l?. Upon information and belief, Det`endant used an automatic telephone
dialing system (“auto-dialer”) to place the telephone calls each time that it called the
PlaintifF s cellular telephone

18. All forty-six (46) of the aforementioned telephone calls Were Willfully and
knowingly made by Det`endant to the Plaintiil"s cellular telephone after Det`endant Was
made aware that the Plaintill` did not consent to receiving such calls.

l9. Section 559.77, Fla. Stat. provides for an award of up to $l,OOO.GO
statutory damages, as Well as actual damages and an award of attorney’s fees to the
Plaintit"f should the Plaintiff prevail in this matter against the Defendant.

20. 47 U.S.C. § 227 (b)(?))(B) provides for statutory damages of live hundred
dollars ($509.00) for each and every telephone call placed to the Plaintifl‘ s cellular
telephone with an auto»dialer without her express prior consent

Zl. 47 U.S.C. § 227 (b)(B)(B) provides for statutory damages of live hundred
dollars ($50{).00) for each and every telephone call placed to the Plaintift’s cellular
telephone that delivers a prerecorded message without her express prior consent

22. In addition, if the Court finds the Defendant Willfully and knowingly
violated the forgoing section, the Court may award treble damages to the Plaintifl` for
such violations pursuant to 47 U.S.C. § 22'? (b)(?)).

24. All conditions precedent to the filing of this action have been completed or

have been Waived.

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CAUSES (}F AC'I`IGN

COUN'I` l ~» VIOLATIGNS OF THE
TELEPHONE CGNSUMER PROTECTION AC'I`

23. This is an action against the Defendant for violations oi` the TCPA, 47
U.S.C. § 227 et seq.

24. Plaintit`f repeats, re-alleges and incorporates paragraphs 1~22 as though
fully restated herein.

25. l)efendant, in the conduct of its business, used an automated telephone
dialing system, as defined by 47 U.S.C. § 227(a){1)(A) to place telephone calls to the
Plaintift" s cellular telephone

26. Section 47 U.S.C. § 227(b)(l)(A)(iii provides in pertinent pait:

lt shall be unlawful for any person within the United States -

(A) to make any call (other than a call made for emergency purposes or
made with the prior express consent of the called party) using any
automated telephone dialing system or an artificial or prerecorded
voice -

(iii) to any telephone number assigned to a paging service, cellular
telephone serviee, specialized mobile radio service, or other radio
common carrier service, or any service for Which the called party is
charged for the call.

27. Defendant is subject to, and has violated the TCPA by using an automated
telephone dialing system to call the Plaintift’ s cellular telephone, in excess of forty-six
(46) times, without her prior express conscnt.

28. Det`endant is subject to, and has violated the TCPA by delivering

prerecorded messages to the Plaintift‘s cellular telephone without her prior express

CORSBIIL

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29. Each of the telephone calls to the Plaintiff’s cellular telephone were
knowingly, Willt`ully and consciously made in violation of the TCPA, alter the Plaintiff
had specilically told the Defendant that it did not have her consent to call her on her
cellular telephone

30. As a direct and approximate result of Dei`endant’s conduct, the Plaintift`
has suffered: (a) The periodic loss of cellular telephone service, (b) The costs associated
with the usage of cellular telephone service during each call, (c) Statutory damages under
the TCPA, and (d) the expenditure of costs and attorney’s fees associated With the
prosecution of this niatter, along With other damages which have been lost.

31. As a result of the above violations ot` the TCPA, the l)et`endant is liable to
the Plaintii`i` for the amount of $500.00 as damages for each violation pursuant to the
TCPA, 47 U.S.C. § 227(1))(3)(3).

32. Based on the Willful, knowingly, and intentional conduct of the Del`endant
as described above, the Plaintii`f is also entitled to an increase in the amount of the award
to treble the damages amount available under 47 U.S.C. § 227(`0)(3)(]3), in accordance
with 47 U.S.C. § 227(b)(3).

WHEREFORE, the Plaintift` respectfully requests this Court enter judgment in his
favor and against the Defendant for:

a. $500.00 statutory damages for each violation of the TCPA

pursuant m 4a u.s.o. § 227 (b)(s)(a);

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b. 'l`reble statutory damages of 31,500.00 per knowing and Willt`ul
violation of the TCPA pursuant to 47 U.S.C. § 227 (b)(B);

c. Costs of litigation, and;

d. Suel). other or further equitable relief as the Court deems just and
proper under the circumstances

COUNT II - VEOLATI{}NS OF THE FLGRII)A CONSUMER COLLECTIONS
PRACTICES AC'I`.

33. This is an action against the Defendant for violations of the FCCPA, Title
XXXIII, Chapter 559, Part VI, Florida Statutes.

34. Plaintiff repeats, re~alleges and incorporates paragraphs 1-22 as though
fully restated herein

35. The Defendant unlawfully used an autodialer to call the Plaintifl" s cellular
telephone on at least 23 occasions, Without Plaintiff’ s express consent, While knowing the
conduct Was prohibited under the TCPA.

36. The immediately aforementioned conduct violated 559.72('7) and
559.72(9), Florida Statutes.

37. As a result of the forgoing violations of the FCCPA, Dei"endant is liable to
Plaintiff for actual damages, statutory damages attomey’s fees and the costs of litigation

pursuant to Section 559.77(2), Fla. Stat.

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WHEREFORE, Plaintit`t` respectfully demands that the Couit enter judgment in

Plaintiff’s favor and against Defendant for:

a. Darnages;
`o. Attorney’s fees and the costs of litigation;
c. A permanent injunction enjoining Det`endant from engaging in the

complained of practices; and

d. Suclt other or further relief as the Court deems just and proper.

MP_M
Please take notice that the Plaintiff respectfully demands trial by jury on all issues
so triable
Dated this _l“j!; day of October, 2015.

Respectfi,tlly Submitted:

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